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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL

 Case No.        SA CR 12-1994-DOC(ANx)                                                    Date      October 6, 2014
 Title     DAVID PARKER, ET AL -V- ALEXANDER MARINE CO. LTD., ET AL

 Present: The Honorable          DAVID O. CARTER, United States District Judge
                Deborah Goltz                                    Debbie Gale                                  N/A
                Deputy Clerk                               Court Reporter / Recorder                       Tape No.

                Attorneys Present for Plaintiffs:                              Attorneys Present for Defendants:
                                                                                        Ronald Rosenberg

 Proceedings:         DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT [27]

       Counsel for Plaintiff failed to appear. The final order entered in this case will not be subject to
reconsideration.




                                                                                                             :       03

                                                                    Initials of Clerk          djg




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